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12   Attorneys for Defendant Ammo A-Z, LLC
13                        IN THE UNITED STATES DISTRICT COURT
14                                DISTRICT OF ARIZONA

15   Estados Unidos Mexicanos,
                                                        Case No: 4:22-cv-00472-CKJ
16
                                Plaintiff,
17                                                      DEFEDANT AMMO A-Z, LLC’S
                  vs.                                   AMENDED ANSWER TO
18                                                      PLAINTIFF’S COMPLAINT AND
19   Diamondback Shooting Sports, Inc., an              AFFIRMATIVE DEFENSES
     Arizona corporation; SNG Tactical, LLC,
20   an Arizona limited liability company;              Jury trial demanded
     Loan Prairie, LLC D/B/A The Hub, an
21
     Arizona limited liability company;
22   Ammo A-Z, LLC, an Arizona limited
     liability company; Sprague’s Sports, Inc.,
23   an Arizona corporation,
24
                         Defendants.
25
           Defendant Ammo A-Z, LLC, (“AA-Z” or “Defendant”) by and through its attorneys,
26
27   WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP and PISCIOTTI LALLIS

28   ERDREICH as and for its Answer to the Complaint of Plaintiff herein, respectfully sets forth

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     as follows:
1

2                                         I. INTRODUCTION

3          1.      Defendant admits that it is a federally licensed firearms dealer located in
4
     Arizona. Defendant denies all remaining allegations directed at it in paragraph “1” of the
5
     Complaint and refers all questions of law to this Honorable Court. To the extent the
6

7    allegations in paragraph “1” of the Complaint are directed to other defendants, AA-Z denies

8    knowledge or information sufficient to form a belief about the truth of such allegations.
9
           2.      Defendant denies all allegations directed at it in paragraph “2” of the Complaint
10
     and refers all questions of law to this Honorable Court. To the extent the allegations in
11

12   paragraph “2” of the Complaint are directed to other defendants, AA-Z denies knowledge or

13   information sufficient to form a belief about the truth of such allegations.
14
           3.      Defendant denies knowledge or information sufficient to form a belief as to the
15
     truth or accuracy of the allegations in paragraph “3” of the Plaintiff’s Complaint.
16

17         4.      Defendant denies knowledge or information sufficient to form a belief as to the

18   truth or accuracy of the allegations in paragraph “4” of the Plaintiff’s Complaint.
19
           5.      Defendant denies any allegation of trafficking firearms. Defendant further
20
     denies all remaining allegations directed at it in paragraph “5” of the Complaint and refers all
21

22   questions of law to this Honorable Court. To the extent the allegations in paragraph “5” of

23   the Complaint are directed to other defendants, AA-Z denies knowledge or information
24
     sufficient to form a belief about the truth of such allegations.
25
           6.      Defendant denies all allegations directed at it in paragraph “6” of the Complaint
26
27   and refers all questions of law to this Honorable Court. To the extent the allegations in

28


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     paragraph “6” of the Complaint are directed to other defendants, AA-Z denies knowledge or
1

2    information sufficient to form a belief about the truth of such allegations.

3          7.     Defendant denies all allegations directed at it in paragraph “7” of the Complaint
4
     and refers all questions of law to this Honorable Court. To the extent the allegations in
5
     paragraph “7” of the Complaint are directed to other defendants, AA-Z denies knowledge or
6

7    information sufficient to form a belief about the truth of such allegations.

8          8.     Defendant denies all allegations directed at it in paragraph “8” of the Complaint
9
     and refers all questions of law to this Honorable Court. To the extent the allegations in
10
     paragraph “8” of the Complaint are directed to other defendants, AA-Z denies knowledge or
11

12   information sufficient to form a belief about the truth of such allegations.

13         9.     Defendant denies all allegations directed at it in paragraph “9” of the Complaint
14
     and refers all questions of law to this Honorable Court. To the extent the allegations in
15
     paragraph “9” of the Complaint are directed to other defendants, AA-Z denies knowledge or
16

17   information sufficient to form a belief about the truth of such allegations.

18         10.    Defendant denies all allegations directed at it in paragraph “10” of the Complaint
19
     and refers all questions of law to this Honorable Court. To the extent the allegations in
20
     paragraph “10” of the Complaint are directed to other defendants, AA-Z denies knowledge
21

22   or information sufficient to form a belief about the truth of such allegations.

23         11.    Defendant denies all allegations directed at it in paragraph “11” of the Complaint
24
     and refers all questions of law to this Honorable Court. To the extent the allegations in
25
     paragraph “11” of the Complaint are directed to other defendants, AA-Z denies knowledge
26
27   or information sufficient to form a belief about the truth of such allegations.

28


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           12.    Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO
1

2    claims (Counts Nine through Thirteen) and Arizona Consumer Fraud Act claim (Count Seven)

3    were dismissed, and as such, no response to such allegations and/or claims is required. To the
4
     extent a response is required, Defendant denies all allegations directed at it in paragraph “12”
5
     of the Complaint and refers all questions of law to this Honorable Court. To the extent the
6

7    allegations in paragraph “12” of the Complaint are directed to other defendants, AA-Z denies

8    knowledge or information sufficient to form a belief about the truth of such allegations.
9
           13.    This paragraph is neither factual nor based in law, but rather asks for a remedy
10
     which is improper in this section of the Complaint. As such, Defendant denies all allegations
11

12   directed at it in paragraph “13” of the Complaint and refers all questions of law to this

13   Honorable Court.
14
                                           II.    PARTIES
15
           14.    Defendant admits that Plaintiff is a sovereign nation that shares a border with
16

17   the United States. Defendant denies all remaining allegations in paragraph “14” of the

18   Complaint and refers all questions of law to this Honorable Court.
19
           15.    Defendant denies knowledge or information sufficient to form a belief as to the
20
     truth or accuracy of the allegations in paragraph “15” of the Plaintiff’s Complaint.
21

22         16.    Defendant denies knowledge or information sufficient to form a belief as to the

23   truth or accuracy of the allegations in paragraph “16” of the Plaintiff’s Complaint.
24
           17.    Defendant denies knowledge or information sufficient to form a belief as to the
25
     truth or accuracy of the allegations in paragraph “17” of the Plaintiff’s Complaint.
26
27

28


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           18.     Defendant admits that it is a duly licensed and operating Arizona limited liability
1

2    company. Defendant denies all the remaining allegations in paragraph “18” of the Complaint

3    and refers all questions of law to this Honorable Court.
4
           19.     Defendant denies knowledge or information sufficient to form a belief as to the
5
     truth or accuracy of the allegations in paragraph “19” of the Plaintiff’s Complaint.
6

7          20.     Defendant denies engaging in any unlawful actions. Defendant further denies all

8    the remaining allegations in paragraph “20” of the Complaint and refers all questions of law
9
     to this Honorable Court.
10
                                 III.    JURISDICTION AND VENUE
11

12         21.     Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Plaintiff’s RICO

13   claims (Counts Nine through Thirteen) were dismissed and cannot form a basis for subject
14
     matter jurisdiction. Answering further, Defendant admits there is complete diversity between
15
     the Plaintiff and Defendants. Defendant denies all remaining allegations in paragraph “21” of
16

17   the Complaint and refers all questions of law to this Honorable Court.

18         22.     Defendant denies that any “events or omissions” committed by it give rise to any
19
     claims being brought in this matter. Defendant admits, based on the allegations, that venue is
20
     proper.
21

22               IV.   EACH DEFENDANT KNOWINGLY PARTICIPATES IN GUN
                                  TRAFFICKING TO MEXICO
23
           23.     Defendant denies all allegations directed at it in paragraph “23” of the Complaint
24

25   and refers all questions of law to this Honorable Court. To the extent the allegations in
26   paragraph “23” of the Complaint are directed to other defendants, AA-Z denies knowledge
27
     or information sufficient to form a belief about the truth of such allegations.
28


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           24.    Defendant denies all allegations directed at it in paragraph “24” of the Complaint
1

2    and refers all questions of law to this Honorable Court. To the extent the allegations in

3    paragraph “24” of the Complaint are directed to other defendants, AA-Z denies knowledge
4
     or information sufficient to form a belief about the truth of such allegations.
5
           25.    Defendant denies all allegations directed at it in paragraph “25” of the Complaint
6

7    and refers all questions of law to this Honorable Court. To the extent the allegations in

8    paragraph “25” of the Complaint are directed to other defendants, AA-Z denies knowledge
9
     or information sufficient to form a belief about the truth of such allegations.
10
           26.    Defendant denies knowledge or information sufficient to form a belief as to the
11

12   truth or accuracy of the allegations in paragraph “26” of the Plaintiff’s Complaint.

13         27.    Defendant denies knowledge or information sufficient to form a belief as to the
14
     truth or accuracy of the allegations in paragraph “27” of the Plaintiff’s Complaint.
15
           28.    Defendant denies all allegations directed at it in paragraph “28” of the Complaint
16

17   and refers all questions of law to this Honorable Court. To the extent the allegations in

18   paragraph “28” of the Complaint are directed to other defendants, AA-Z denies knowledge
19
     or information sufficient to form a belief about the truth of such allegations.
20
           29.    Defendant denies trafficking any firearms. Defendant further denies all
21

22   remaining allegations directed at it in paragraph “29” of the Complaint and refers all questions

23   of law to this Honorable Court. To the extent the allegations in paragraph “29” of the
24
     Complaint are directed to other defendants, AA-Z denies knowledge or information sufficient
25
     to form a belief about the truth of such allegations.
26
27         30.    Defendant denies all allegations directed at it in paragraph “30” of the Complaint

28   and refers all questions of law to this Honorable Court. To the extent the allegations in

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     paragraph “30” of the Complaint are directed to other defendants, AA-Z denies knowledge
1

2    or information sufficient to form a belief about the truth of such allegations.

3          31.    Defendant denies all allegations directed at it in paragraph “31” of the Complaint
4
     and refers all questions of law to this Honorable Court. To the extent the allegations in
5
     paragraph “31” of the Complaint are directed to other defendants, AA-Z denies knowledge
6

7    or information sufficient to form a belief about the truth of such allegations.

8          32.    Defendant denies trafficking any firearms. Defendant further denies all
9
     remaining allegations directed at it in paragraph “32” of the Complaint and refers all questions
10
     of law to this Honorable Court. To the extent the allegations in paragraph “32” of the
11

12   Complaint are directed to other defendants, AA-Z denies knowledge or information sufficient

13   to form a belief about the truth of such allegations.
14
           33.    Defendant denies trafficking any firearms. Defendant further denies all
15
     remaining allegations directed at it in paragraph “33” of the Complaint and refers all questions
16

17   of law to this Honorable Court. To the extent the allegations in paragraph “33” of the

18   Complaint are directed to other defendants, AA-Z denies knowledge or information sufficient
19
     to form a belief about the truth of such allegations.
20
           34.    Defendant denies all allegations directed at it in paragraph “34” of the Complaint
21

22   and refers all questions of law to this Honorable Court. To the extent the allegations in

23   paragraph “34” of the Complaint are directed to other defendants, AA-Z denies knowledge
24
     or information sufficient to form a belief about the truth of such allegations.
25
           35.    Defendant denies all allegations directed at it in paragraph “35” of the Complaint
26
27   and refers all questions of law to this Honorable Court. To the extent the allegations in

28   paragraph “35” of the Complaint are directed to other defendants, AA-Z denies knowledge

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     or information sufficient to form a belief about the truth of such allegations.
1

2          36.    Defendant denies all allegations directed at it in paragraph “36” of the Complaint

3    and refers all questions of law to this Honorable Court. To the extent the allegations in
4
     paragraph “36” of the Complaint are directed to other defendants, AA-Z denies knowledge
5
     or information sufficient to form a belief about the truth of such allegations.
6

7          37.    Defendant denies all allegations directed at it in paragraph “37” of the Complaint

8    and refers all questions of law to this Honorable Court. To the extent the allegations in
9
     paragraph “37” of the Complaint are directed to other defendants, AA-Z denies knowledge
10
     or information sufficient to form a belief about the truth of such allegations.
11

12         38.    Defendant denies all allegations directed at it in paragraph “38” of the Complaint

13   and refers all questions of law to this Honorable Court. To the extent the allegations in
14
     paragraph “38” of the Complaint are directed to other defendants, AA-Z denies knowledge
15
     or information sufficient to form a belief about the truth of such allegations.
16

17         39.    Defendant denies all allegations directed at it in paragraph “39” of the Complaint

18   and refers all questions of law to this Honorable Court. To the extent the allegations in
19
     paragraph “39” of the Complaint are directed to other defendants, AA-Z denies knowledge
20
     or information sufficient to form a belief about the truth of such allegations.
21

22         40.    Defendant denies all allegations directed at it in paragraph “40” of the Complaint

23   and refers all questions of law to this Honorable Court. To the extent the allegations in
24
     paragraph “40” of the Complaint are directed to other defendants, AA-Z denies knowledge
25
     or information sufficient to form a belief about the truth of such allegations.
26
27         41.    Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does

28   not apply to this action herein, and no response is required to the portions of paragraph “41” of

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     the Complaint addressing the application of Mexican law. Answering further, Defendant denies
1

2    knowingly participating in “straw sales” and denies trafficking firearms. Defendant further

3    denies all remaining allegations directed at it in paragraph “41” of the Complaint and refers
4
     all questions of law to this Honorable Court. To the extent the allegations in paragraph “41”
5
     of the Complaint are directed to other defendants, AA-Z denies knowledge or information
6

7    sufficient to form a belief about the truth of such allegations.

8          42.    Defendant denies that purchasing more than one handgun is an indicator of
9
     trafficking as alleged in paragraph “42” of the Complaint. Defendant admits that federal law
10
     requires reporting multiple handgun purchases within a five-business day period. Defendant
11

12   denies all remaining allegations directed at it in paragraph “42” of the Complaint and refers

13   all questions of law to this Honorable Court.
14
           43.    Defendant admits that there are reporting requirements for sales of long guns in
15
     certain regions. Defendant denies all remaining allegations directed at it in paragraph “43” of
16

17   the Complaint and refers all questions of law to this Honorable Court.

18         44.    Defendant denies trafficking any firearms. Defendant further denies all
19
     remaining allegations directed at it in paragraph “44” of the Complaint and refers all questions
20
     of law to this Honorable Court.
21

22         45.    Defendant denies all allegations directed at it in paragraph “45” of the Complaint

23   and refers all questions of law to this Honorable Court. To the extent the allegations in
24
     paragraph “45” of the Complaint are directed to other defendants, AA-Z denies knowledge
25
     or information sufficient to form a belief about the truth of such allegations.
26
27         46.    Defendant denies all allegations directed at it in paragraph “46” of the Complaint

28   and refers all questions of law to this Honorable Court.

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           47.    Defendant denies all allegations directed at it in paragraph “47” of the Complaint
1

2    and refers all questions of law to this Honorable Court.

3          48.    Defendant denies trafficking any firearms. Defendant further denies all
4
     remaining allegations directed at it in paragraph “48” of the Complaint and refers all questions
5
     of law to this Honorable Court. To the extent the allegations in paragraph “48” of the
6

7    Complaint are directed to other defendants, AA-Z denies knowledge or information sufficient

8    to form a belief about the truth of such allegations.
9
           49.    Defendant denies all allegations directed at it in paragraph “49” of the Complaint
10
     and refers all questions of law to this Honorable Court. To the extent the allegations in
11

12   paragraph “49” of the Complaint are directed to other defendants, AA-Z denies knowledge

13   or information sufficient to form a belief about the truth of such allegations.
14
           50.    Defendant denies trafficking any firearms. Defendant further denies all
15
     remaining allegations directed at it in paragraph “50” of the Complaint and refers all questions
16

17   of law to this Honorable Court. To the extent the allegations in paragraph “49” of the

18   Complaint are directed to other defendants, AA-Z denies knowledge or information sufficient
19
     to form a belief about the truth of such allegations.
20
           51.    Defendant denies all allegations directed at it in paragraph “51” of the Complaint
21

22   and refers all questions of law to this Honorable Court.

23         52.    Defendant denies making any reckless of unlawful sales of firearms. Defendant
24
     does sell modern sporting rifles. Defendant denies all remaining allegations directed at it in
25
     paragraph “52” of the Complaint and refers all questions of law to this Honorable Court. To
26
27   the extent the allegations in paragraph “52” of the Complaint are directed to other defendants,

28   AA-Z denies knowledge or information sufficient to form a belief about the truth of such

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     allegations.
1

2           53.     Defendant denies all allegations directed at it in paragraph “53” of the Complaint

3    and refers all questions of law to this Honorable Court. To the extent the allegations in
4
     paragraph “53” of the Complaint are directed to other defendants, AA-Z denies knowledge
5
     or information sufficient to form a belief about the truth of such allegations.
6

7      V.         EXAMPLES OF SPECIFIC SALES ILLUSTRATE THAT DEFENDANTS’
                  PARTICIPATION IN THE TRAFFICKING IS SYSTEMATIC AND
8                 KNOWING.
9
            54.     Defendant denies all allegations directed at it in paragraph “54” of the Complaint
10
     and refers all questions of law to this Honorable Court. To the extent the allegations in
11

12   paragraph “54” of the Complaint are directed to other defendants, AA-Z denies knowledge

13   or information sufficient to form a belief about the truth of such allegations.
14
            55.     Defendant denies all allegations directed at it in paragraph “55” of the Complaint
15
     and refers all questions of law to this Honorable Court. To the extent the allegations in
16

17   paragraph “55” of the Complaint are directed to other defendants, AA-Z denies knowledge

18   or information sufficient to form a belief about the truth of such allegations.
19
            56.     Defendant denies all allegations in paragraph “56” of the Complaint and refers
20
     all questions of law to this Honorable Court.
21

22          57.     Defendant denies knowledge or information sufficient to form a belief as to the

23   truth or accuracy of the allegations in paragraph “57” of the Plaintiff’s Complaint.
24
            58.     Defendant denies knowledge or information sufficient to form a belief as to the
25
     truth or accuracy of the allegations in paragraph “58” of the Plaintiff’s Complaint.
26
27          59.     Defendant denies knowledge or information sufficient to form a belief as to the

28   truth or accuracy of the allegations in paragraph “59” of the Plaintiff’s Complaint.

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           60.    Defendant denies knowledge or information sufficient to form a belief as to the
1

2    truth or accuracy of the allegations in paragraph “60” of the Plaintiff’s Complaint.

3          61.    Defendant denies knowledge or information sufficient to form a belief as to the
4
     truth or accuracy of the allegations in paragraph “61” of the Plaintiff’s Complaint.
5
           62.    Defendant denies knowledge or information sufficient to form a belief as to the
6

7    truth or accuracy of the allegations in paragraph “62” of the Plaintiff’s Complaint.

8          63.    Defendant denies knowledge or information sufficient to form a belief as to the
9
     truth or accuracy of the allegations in paragraph “63” of the Plaintiff’s Complaint and
10
     therefore the allegations and assertions therein are denied.
11

12         64.    Defendant denies knowledge or information sufficient to form a belief as to the

13   truth or accuracy of the allegations in paragraph “64” of the Plaintiff’s Complaint.
14
           65.    Defendant denies all allegations directed at it in paragraph “65” of the Complaint
15
     and refers all questions of law to this Honorable Court. To the extent the allegations in
16

17   paragraph “65” of the Complaint are directed to other defendants, AA-Z denies knowledge

18   or information sufficient to form a belief about the truth of such allegations.
19
           66.    Defendant denies all allegations in paragraph “66” of the Complaint and refers
20
     all questions of law to this Honorable Court.
21

22         67.    Defendant denies knowledge or information sufficient to form a belief as to the

23   truth or accuracy of the allegations in paragraph “67” of the Plaintiff’s Complaint.
24
           68.    Defendant denies knowledge or information sufficient to form a belief as to the
25
     truth or accuracy of the allegations in paragraph “68” of the Plaintiff’s Complaint.
26
27         69.    Defendant denies knowledge or information sufficient to form a belief as to the

28   truth or accuracy of the allegations in paragraph “69” of the Plaintiff’s Complaint.

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           70.    Defendant denies knowledge or information sufficient to form a belief as to the
1

2    truth or accuracy of the allegations in paragraph “70” of the Plaintiff’s Complaint.

3          71.    Defendant denies knowledge or information sufficient to form a belief as to the
4
     truth or accuracy of the allegations in paragraph “71” of the Plaintiff’s Complaint.
5
           72.    Defendant denies knowledge or information sufficient to form a belief as to the
6

7    truth or accuracy of the allegations in paragraph “72” of the Plaintiff’s Complaint.

8          73.    Defendant denies knowledge or information sufficient to form a belief as to the
9
     truth or accuracy of the allegations in paragraph “73” of the Plaintiff’s Complaint.
10
           74.    Defendant denies knowledge or information sufficient to form a belief as to the
11

12   truth or accuracy of the allegations in paragraph “74” of the Plaintiff’s Complaint.

13         75.    Defendant denies knowledge or information sufficient to form a belief as to the
14
     truth or accuracy of the allegations in paragraph “75” of the Plaintiff’s Complaint.
15
           76.    Defendant denies knowledge or information sufficient to form a belief as to the
16

17   truth or accuracy of the allegations in paragraph “76” of the Plaintiff’s Complaint.

18         77.    Defendant denies knowledge or information sufficient to form a belief as to the
19
     truth or accuracy of the allegations in paragraph “77” of the Plaintiff’s Complaint.
20
           78.    Defendant denies knowledge or information sufficient to form a belief as to the
21

22   truth or accuracy of the allegations in paragraph “78” of the Plaintiff’s Complaint.

23         79.    Defendant denies knowledge or information sufficient to form a belief as to the
24
     truth or accuracy of the allegations in paragraph “79” of the Plaintiff’s Complaint.
25
           80.    Defendant denies knowledge or information sufficient to form a belief as to the
26
27   truth or accuracy of the allegations in paragraph “80” of the Plaintiff’s Complaint.

28         81.    Defendant denies all allegations directed at it in paragraph “81” of the Complaint

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     and refers all questions of law to this Honorable Court. To the extent the allegations in
1

2    paragraph “81” of the Complaint are directed to other defendants, AA-Z denies knowledge

3    or information sufficient to form a belief about the truth of such allegations.
4
           82.    Defendant denies all allegations directed at it in paragraph “82” of the Complaint
5
     and refers all questions of law to this Honorable Court. To the extent the allegations in
6

7    paragraph “82” of the Complaint are directed to other defendants, AA-Z denies knowledge

8    or information sufficient to form a belief about the truth of such allegations.
9
           83.    Defendant denies all allegations directed at it in paragraph “83” of the Complaint
10
     and refers all questions of law to this Honorable Court. To the extent the allegations in
11

12   paragraph “83” of the Complaint are directed to other defendants, AA-Z denies knowledge

13   or information sufficient to form a belief about the truth of such allegations.
14
           84.    Defendant denies all allegations directed at it in paragraph “84” of the Complaint
15
     and refers all questions of law to this Honorable Court. To the extent the allegations in
16

17   paragraph “84” of the Complaint are directed to other defendants, AA-Z denies knowledge

18   or information sufficient to form a belief about the truth of such allegations.
19
           85.    Defendant denies all allegations directed at it in paragraph “85” of the Complaint
20
     and refers all questions of law to this Honorable Court. To the extent the allegations in
21

22   paragraph “85” of the Complaint are directed to other defendants, AA-Z denies knowledge

23   or information sufficient to form a belief about the truth of such allegations.
24
           86.    Defendant denies knowledge or information sufficient to form a belief as to the
25
     truth or accuracy of the allegations in paragraph “86” of the Plaintiff’s Complaint.
26
27         87.    Defendant denies knowledge or information sufficient to form a belief as to the

28   truth or accuracy of the allegations in paragraph “87” of the Plaintiff’s Complaint.

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           88.    Defendant denies knowledge or information sufficient to form a belief as to the
1

2    truth or accuracy of the allegations in paragraph “88” of the Plaintiff’s Complaint.

3          89.    Defendant denies all allegations in paragraph “89” of the Complaint and refers
4
     all questions of law to this Honorable Court.
5
           90.    Defendant denies all allegations in paragraph “90” of the Complaint and refers
6

7    all questions of law to this Honorable Court.

8          91.    Defendant denies knowledge or information sufficient to form a belief as to the
9
     truth or accuracy of the allegations directed at it in paragraph “91” of the Plaintiff’s
10
     Complaint. To the extent the allegations in paragraph “91” of the Complaint are directed to
11

12   other defendants, AA-Z denies knowledge or information sufficient to form a belief about the

13   truth of such allegations.
14
           92.    Defendant denies all allegations directed at it in paragraph “92” of the Complaint
15
     and refers all questions of law to this Honorable Court. To the extent the allegations in
16

17   paragraph “92” of the Complaint are directed to other defendants, AA-Z denies knowledge

18   or information sufficient to form a belief about the truth of such allegations.
19
           93.    Defendant denies knowledge or information sufficient to form a belief as to the
20
     truth or accuracy of the allegations in paragraph “93” of the Plaintiff’s Complaint.
21

22         94.    Defendant denies knowledge or information sufficient to form a belief as to the

23   truth or accuracy of the allegations in paragraph “94” of the Plaintiff’s Complaint.
24
           95.    Defendant denies knowledge or information sufficient to form a belief as to the
25
     truth or accuracy of the allegations in paragraph “95” of the Plaintiff’s Complaint.
26
27         96.    Defendant denies knowledge or information sufficient to form a belief as to the

28   truth or accuracy of the allegations in paragraph “96” of the Plaintiff’s Complaint.

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           97.    Defendant denies knowledge or information sufficient to form a belief as to the
1

2    truth or accuracy of the allegations in paragraph “97” of the Plaintiff’s Complaint.

3          98.    Defendant denies knowledge or information sufficient to form a belief as to the
4
     truth or accuracy of the allegations in paragraph “98” of the Plaintiff’s Complaint.
5
           99.    Defendant denies knowledge or information sufficient to form a belief as to the
6

7    truth or accuracy of the allegations in paragraph “99” of the Plaintiff’s Complaint.

8          100.   Defendant denies knowledge or information sufficient to form a belief as to the
9
     truth or accuracy of the allegations in paragraph “100” of the Plaintiff’s Complaint.
10
           101.   Defendant denies knowledge or information sufficient to form a belief as to the
11

12   truth or accuracy of the allegations in paragraph “101” of the Plaintiff’s Complaint.

13         102.   Defendant denies knowledge or information sufficient to form a belief as to the
14
     truth or accuracy of the allegations in paragraph “102” of the Plaintiff’s Complaint.
15
           103.   Defendant denies knowledge or information sufficient to form a belief as to the
16

17   truth or accuracy of the allegations in paragraph “103” of the Plaintiff’s Complaint.

18         104.   Defendant denies knowledge or information sufficient to form a belief as to the
19
     truth or accuracy of the allegations in paragraph “104” of the Plaintiff’s Complaint.
20
           105.   Defendant denies knowledge or information sufficient to form a belief as to the
21

22   truth or accuracy of the allegations in paragraph “105” of the Plaintiff’s Complaint.

23         106.   Defendant denies knowledge or information sufficient to form a belief as to the
24
     truth or accuracy of the allegations in paragraph “106” of the Plaintiff’s Complaint.
25
           107.   Defendant denies knowledge or information sufficient to form a belief as to the
26
27   truth or accuracy of the allegations in paragraph “107” of the Plaintiff’s Complaint.

28         108.   Defendant denies knowledge or information sufficient to form a belief as to the

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     truth or accuracy of the allegations in paragraph “108” of the Plaintiff’s Complaint.
1

2          109.   Defendant denies knowledge or information sufficient to form a belief as to the

3    truth or accuracy of the allegations in paragraph “109” of the Plaintiff’s Complaint.
4
           110.   Defendant denies knowledge or information sufficient to form a belief as to the
5
     truth or accuracy of the allegations in paragraph “110” of the Plaintiff’s Complaint.
6

7          111.   Defendant denies knowledge or information sufficient to form a belief as to the

8    truth or accuracy of the allegations in paragraph “111” of the Plaintiff’s Complaint.
9
           112.   Defendant denies knowledge or information sufficient to form a belief as to the
10
     truth or accuracy of the allegations in paragraph “112” of the Plaintiff’s Complaint.
11

12         113.   Defendant denies all allegations in paragraph “113” of the Complaint and refers

13   all questions of law to this Honorable Court.
14
           114.   Defendant denies knowledge or information sufficient to form a belief as to the
15
     truth or accuracy of the allegations in paragraph “114” of the Plaintiff’s Complaint.
16

17         115.   Defendant denies knowledge or information sufficient to form a belief as to the

18   truth or accuracy of the allegations in paragraph “115” of the Plaintiff’s Complaint.
19
           116.   Defendant denies knowledge or information sufficient to form a belief as to the
20
     truth or accuracy of the allegations in paragraph “116” of the Plaintiff’s Complaint.
21

22         117.   Defendant denies all allegations directed at it in paragraph “117” of the

23   Complaint and refers all questions of law to this Honorable Court. To the extent the
24
     allegations in paragraph “117” of the Complaint are directed to other defendants, AA-Z denies
25
     knowledge or information sufficient to form a belief about the truth of such allegations.
26
27

28


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       VI.      DATA CONFIRM THAT DEFENDANTS’ PARTICIPATION IN THE
1
                TRAFFICKING IS SYSTEMATIC AND KNOWING.
2
             118.   Defendant denies any allegation of trafficking firearms. Defendant further
3

4    denies all remaining allegations directed at it in paragraph “118” of the Complaint and refers

5    all questions of law to this Honorable Court. To the extent the allegations in paragraph “118”
6
     of the Complaint are directed to other defendants, AA-Z denies knowledge or information
7
     sufficient to form a belief about the truth of such allegations.
8

9            119.   Defendant denies any allegation of trafficking firearms. Defendant further

10   denies all remaining allegations directed at it in paragraph “119” of the Complaint and refers
11
     all questions of law to this Honorable Court. To the extent the allegations in paragraph “119”
12
     of the Complaint are directed to other defendants, AA-Z denies knowledge or information
13

14   sufficient to form a belief about the truth of such allegations.

15           120.   Defendant denies any allegation of trafficking firearms. Defendant further
16   denies all remaining allegations directed at it in paragraph “120” of the Complaint and refers
17
     all questions of law to this Honorable Court. To the extent the allegations in paragraph “120”
18
19
     of the Complaint are directed to other defendants, AA-Z denies knowledge or information

20   sufficient to form a belief about the truth of such allegations.
21           121.   Defendant denies any allegation of trafficking firearms. Defendant further
22
     denies all remaining allegations directed at it in paragraph “121” of the Complaint and refers
23
     all questions of law to this Honorable Court. To the extent the allegations in paragraph “121”
24

25   of the Complaint are directed to other defendants, AA-Z denies knowledge or information
26   sufficient to form a belief about the truth of such allegations.
27

28


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            122.   Defendant denies any allegation of trafficking firearms. Defendant further
1

2    denies all remaining allegations directed at it in paragraph “122” of the Complaint and refers

3    all questions of law to this Honorable Court. To the extent the allegations in paragraph “122”
4
     of the Complaint are directed to other defendants, AA-Z denies knowledge or information
5
     sufficient to form a belief about the truth of such allegations.
6

7           123.   Defendant denies all allegations directed at it in paragraph “123” of the

8    Complaint and refers all questions of law to this Honorable Court. To the extent the
9
     allegations in paragraph “123” of the Complaint are directed to other defendants, AA-Z denies
10
     knowledge or information sufficient to form a belief about the truth of such allegations.
11

12          124.   Defendant denies all allegations directed at it in paragraph “124” of the

13   Complaint and refers all questions of law to this Honorable Court. To the extent the
14
     allegations in paragraph “124” of the Complaint are directed to other defendants, AA-Z denies
15
     knowledge or information sufficient to form a belief about the truth of such allegations.
16

17   VII.    EACH DEFENDANT HAS VIOLATED ITS LEGAL DUTIES TO SELL ITS
                GUNS SAFELY AND AVOID ARMING CRIMINALS IN MEXICO.
18
19
            125.   Defendant denies all allegations directed at it in paragraph “125” of the

20   Complaint and refers all questions of law to this Honorable Court. To the extent the
21   allegations in paragraph “125” of the Complaint are directed to other defendants, AA-Z denies
22
     knowledge or information sufficient to form a belief about the truth of such allegations.
23
            126.   Defendant denies all allegations directed at it in paragraph “126” of the
24

25   Complaint and refers all questions of law to this Honorable Court. To the extent the
26   allegations in paragraph “126” of the Complaint are directed to other defendants, AA-Z denies
27
     knowledge or information sufficient to form a belief about the truth of such allegations.
28


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           127.   Defendant denies all allegations directed at it in paragraph “127” of the
1

2    Complaint and refers all questions of law to this Honorable Court. To the extent the

3    allegations in paragraph “127” of the Complaint are directed to other defendants, AA-Z denies
4
     knowledge or information sufficient to form a belief about the truth of such allegations.
5
           128.   Defendant denies all allegations directed at it in paragraph “128” of the
6

7    Complaint and refers all questions of law to this Honorable Court. To the extent the

8    allegations in paragraph “128” of the Complaint are directed to other defendants, AA-Z denies
9
     knowledge or information sufficient to form a belief about the truth of such allegations.
10
           129.   Defendant denies all allegations directed at it in paragraph “129” of the
11

12   Complaint and refers all questions of law to this Honorable Court. To the extent the

13   allegations in paragraph “129” of the Complaint are directed to other defendants, AA-Z denies
14
     knowledge or information sufficient to form a belief about the truth of such allegations.
15
           130.   Defendant denies all allegations directed at it in paragraph “130” of the
16

17   Complaint and refers all questions of law to this Honorable Court. To the extent the

18   allegations in paragraph “130” of the Complaint are directed to other defendants, AA-Z denies
19
     knowledge or information sufficient to form a belief about the truth of such allegations.
20
           131.   Defendant denies all allegations directed at it in paragraph “131” of the
21

22   Complaint and refers all questions of law to this Honorable Court. To the extent the

23   allegations in paragraph “131” of the Complaint are directed to other defendants, AA-Z denies
24
     knowledge or information sufficient to form a belief about the truth of such allegations.
25
           132.   Defendant admits the basic premise of this paragraph; to the extent any of the
26
27   assertions are incorrect or taken out of context, Defendant denies those allegations in

28   paragraph “132” of the Complaint.

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           133.   Defendant denies assisting or concealing anyone’s unlawful dealing in firearms
1

2    as alleged in paragraph “133” of the Complaint. To the extent the allegations in paragraph

3    “133” of the Complaint are directed to other defendants, AA-Z denies knowledge or
4
     information sufficient to form a belief about the truth of such allegations.
5
           134.   Defendant denies all allegations directed at it in paragraph “134” of the
6

7    Complaint and refers all questions of law to this Honorable Court. To the extent the

8    allegations in paragraph “134” of the Complaint are directed to other defendants, AA-Z denies
9
     knowledge or information sufficient to form a belief about the truth of such allegations.
10
           135.   Defendant denies all allegations directed at it in paragraph “135” of the
11

12   Complaint and refers all questions of law to this Honorable Court. To the extent the

13   allegations in paragraph “135” of the Complaint are directed to other defendants, AA-Z denies
14
     knowledge or information sufficient to form a belief about the truth of such allegations.
15
           136.   Defendant denies that the National Shooting Sports Foundation sets a “standard”
16

17   through its “Don’t Lie for the Other Guy” materials. Defendant denies all remaining allegations

18   directed at it in paragraph “136” of the Complaint and refers all questions of law to this
19
     Honorable Court. To the extent the allegations in paragraph “136” of the Complaint are
20
     directed to other defendants, AA-Z denies knowledge or information sufficient to form a
21

22   belief about the truth of such allegations.

23         137.   Defendant admits the basic premise of the assertions in paragraph “137” of the
24
     Complaint.
25
           138.   Defendant admits the assertions in paragraph “138” of the Complaint.
26
27         139.   Defendant states that the referenced statutes and regulations in paragraph “139”

28   speak for themselves, Defendant lacks knowledge or information sufficient to form a belief

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     as to why such laws were enacted, and refers all questions of law to this Honorable Court.
1

2    Defendant further states that BATFE has at times instructed dealers to sell firearms under

3    such situations, as in Operation Fast and Furious.
4
           140.   Defendant states that the referenced statutes and regulations in paragraph “140”
5
     speak for themselves and refers all questions of law to this Honorable Court.
6

7          141.   Defendant states that the referenced statutes and regulations in paragraph “141”

8    speak for themselves and refers all questions of law to this Honorable Court.
9
           142.   Defendant states that the referenced statutes and regulations in paragraph “142”
10
     speak for themselves and refers all questions of law to this Honorable Court.
11

12         143.   Defendant states that the referenced statutes and regulations in paragraph “143”

13   speak for themselves and refers all questions of law to this Honorable Court.
14
           144.   Defendant denies selling firearms unlawfully or trafficking firearms. Defendant
15
     further denies the remaining allegations in paragraph “144” of the Complaint and refers all
16

17   questions of law to this Honorable Court.

18         145.   Defendant states that the referenced statutes and regulations in paragraph “145”
19
     speak for themselves, and refers all questions of law to this Honorable Court.
20
           146.   Defendant denies all allegations directed at it in paragraph “146” of the
21

22   Complaint and refers all questions of law to this Honorable Court. To the extent the

23   allegations in paragraph “146” of the Complaint are directed to other defendants, AA-Z denies
24
     knowledge or information sufficient to form a belief about the truth of such allegations. To
25
     the extent the allegations in paragraph “136” of the Complaint are directed to other
26
27   defendants, AA-Z denies knowledge or information sufficient to form a belief about the truth

28   of such allegations.

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           147.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
1

2    not apply to this action herein, and no response is required to the portions of paragraph “147” of

3    the Complaint addressing the application of Mexican law. Answering further, Defendant denies
4
     knowledge of all allegations in paragraph “147” of the Complaint and refers all questions of
5
     law to this Honorable Court.
6

7          148.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does

8    not apply to this action herein, and no response is required to the portions of paragraph “148” of
9
     the Complaint addressing the application of Mexican law. Answering further, Defendant denies
10
     knowledge of all allegations in paragraph “148” of the Complaint and refers all questions of
11

12   law to this Honorable Court.

13         149.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
14
     not apply to this action herein, and no response is required to the portions of paragraph “149” of
15
     the Complaint addressing the application of Mexican law. Answering further, Defendant denies
16

17   knowledge of all allegations in paragraph “149” of the Complaint and refers all questions of

18   law to this Honorable Court.
19
           150.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
20
     not apply to this action herein, and no response is required to the portions of paragraph “150” of
21

22   the Complaint addressing the application of Mexican law. Answering further, Defendant denies

23   aiding and abetting and trafficking. Defendant further denies knowledge of the other
24
     allegations in paragraph “150” of the Complaint and refers all questions of law to this
25
     Honorable Court.
26
27         151.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does

28   not apply to this action herein, and no response is required to the portions of paragraph “151” of

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     the Complaint addressing the application of Mexican law. Answering further, Defendant denies
1

2    knowledge of all allegations in paragraph “151” of the Complaint and refers all questions of

3    law to this Honorable Court.
4
           152.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
5
     not apply to this action herein, and no response is required to the portions of paragraph “152” of
6

7    the Complaint addressing the application of Mexican law. Answering further, Defendant denies

8    knowledge of all allegations in paragraph “152” of the Complaint and refers all questions of
9
     law to this Honorable Court.
10
           153.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
11

12   not apply to this action herein, and no response is required to the portions of paragraph “153” of

13   the Complaint addressing the application of Mexican law. Answering further, Defendant denies
14
     knowledge of all allegations in paragraph “153” of the Complaint and refers all questions of
15
     law to this Honorable Court.
16

17         154.   Defendant admits the general statement in paragraph “154” of the Complaint.

18         155.   Defendant denies knowledge of all allegations in paragraph “155” of the
19
     Complaint and refers all questions of law to this Honorable Court.
20
           156.   Defendant denies knowledge of all allegations in paragraph “156” of the
21

22   Complaint and refers all questions of law to this Honorable Court.

23         157.   Defendant denies exporting any firearms. Defendant further denies knowledge
24
     of all allegations in paragraph “157” of the Complaint and refers all questions of law to this
25
     Honorable Court.
26
27         158.   Defendant denies exporting any firearms or aiding and abetting exporting of

28   firearms. Defendant further denies knowledge of the remaining allegations in paragraph

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     “158” of the Complaint and refers all questions of law to this Honorable Court.
1

2          159.   Defendant denies smuggling firearms. Defendant further denies the remaining

3    allegations in paragraph “159” of the Complaint and refers all questions of law to this
4
     Honorable Court.
5
           160.   Defendant denies knowledge of the actions of non-party “drug cartels” and
6

7    further denies smuggling or conspiring to smuggle firearms as alleged in paragraph “160” of

8    the Complaint and refers all questions of law to this Honorable Court. Defendant further
9
     denies the alleged interpretation of the statute referenced.
10
           161.   Defendant denies all allegations in paragraph “161” of the Complaint and refers
11

12   all questions of law to this Honorable Court.

13         162.   Defendant denies all allegations in paragraph “162” of the Complaint and refers
14
     all questions of law to this Honorable Court.
15
           163.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
16

17   not apply to this action herein, and no response is required to the portions of paragraph “163” of

18   the Complaint addressing the application of Mexican law. Answering further, Defendant denies
19
     all allegations in paragraph “163” of the Complaint and refers all questions of law to this
20
     Honorable Court.
21

22         164.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does

23   not apply to this action herein, and no response is required to the portions of paragraph “164” of
24
     the Complaint addressing the application of Mexican law. Answering further, Defendant denies
25
     all allegations in paragraph “164” of the Complaint and refers all questions of law to this
26
27   Honorable Court.

28         165.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does

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     not apply to this action herein, and no response is required to the portions of paragraph “165” of
1

2    the Complaint addressing the application of Mexican law. Answering further, Defendant denies

3    all allegations in paragraph “165” of the Complaint and refers all questions of law to this
4
     Honorable Court.
5
           166.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
6

7    not apply to this action herein, and no response is required to the portions of paragraph “166” of

8    the Complaint addressing the application of Mexican law. Answering further, Defendant denies
9
     all allegations in paragraph “166” of the Complaint and refers all questions of law to this
10
     Honorable Court.
11

12         167.   Defendant denies supplying any criminal market. Defendant further denies the

13   remaining allegations directed at it in paragraph “167” of the Complaint and refers all
14
     questions of law to this Honorable Court. To the extent the allegations in paragraph “167” of
15
     the Complaint are directed to other defendants, AA-Z denies knowledge or information
16

17   sufficient to form a belief about the truth of such allegations.

18         168.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
19
     not apply to this action herein, and no response is required to the portions of paragraph “168” of
20
     the Complaint addressing the application of Mexican law. Answering further, Defendant denies
21

22   all allegations in paragraph “168” of the Complaint, including all sub-parts, and refers all

23   questions of law to this Honorable Court.
24
           169.   Defendant denies all allegations directed at it in paragraph “169” of the
25
     Complaint and refers all questions of law to this Honorable Court. To the extent the
26
27   allegations in paragraph “169” of the Complaint are directed to other defendants, AA-Z denies

28   knowledge or information sufficient to form a belief about the truth of such allegations.

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           170.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does
1

2    not apply to this action herein, and no response is required to the portions of paragraph “170” of

3    the Complaint addressing the application of Mexican law. Answering further, Defendant denies
4
     all allegations in paragraph “170” of the Complaint and refers all questions of law to this
5
     Honorable Court.
6

7          171.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), Mexican law does

8    not apply to this action herein, and no response is required to the portions of paragraph “171” of
9
     the Complaint addressing the application of Mexican law. Answering further, Defendant denies
10
     all allegations in paragraph “171” of the Complaint and refers all questions of law to this
11

12   Honorable Court.

13         172.   Defendant denies all allegations directed at it in paragraph “172” of the
14
     Complaint and refers all questions of law to this Honorable Court.
15
           173.   Defendant denies all allegations directed at it in paragraph “173” of the
16

17   Complaint and refers all questions of law to this Honorable Court.

18         174.   Defendant denies all allegations directed at it in paragraph “174” of the
19
     Complaint and refers all questions of law to this Honorable Court. To the extent the
20
     allegations in paragraph “174” of the Complaint are directed to other defendants, AA-Z denies
21

22   knowledge or information sufficient to form a belief about the truth of such allegations.

23         175.   Defendant denies engaging in willful blindness. Defendant further denies the
24
     remaining allegations directed at it in paragraph “175” of the Complaint and refers all
25
     questions of law to this Honorable Court.
26
27         176.   Defendant denies all allegations directed at it in paragraph “176” of the

28   Complaint and refers all questions of law to this Honorable Court. To the extent the

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     allegations in paragraph “176” of the Complaint are directed to other defendants, AA-Z denies
1

2    knowledge or information sufficient to form a belief about the truth of such allegations.

3          177.   Defendant denies all allegations directed at it in paragraph “177” of the
4
     Complaint and refers all questions of law to this Honorable Court. To the extent the
5
     allegations in paragraph “177” of the Complaint are directed to other defendants, AA-Z denies
6

7    knowledge or information sufficient to form a belief about the truth of such allegations.

8          178.   Defendant denies all allegations directed at it in paragraph “178” of the
9
     Complaint and refers all questions of law to this Honorable Court. To the extent the
10
     allegations in paragraph “178” of the Complaint are directed to other defendants, AA-Z denies
11

12   knowledge or information sufficient to form a belief about the truth of such allegations.

13 VIII.   EACH DEFENDANT KNOWINGLY PARTICIPATES IN RACKETEERING
14                              ACTIVITIES.

15          179. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
16   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “179” of the
17
     Complaint and refers all questions of law to this Honorable Court.
18
19
            180. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

20   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “180” of the
21   Complaint and refers all questions of law to this Honorable Court.
22
            181. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
23
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “181” of the
24

25   Complaint and refers all questions of law to this Honorable Court.
26          182. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
27
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “182” of the
28


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     Complaint and refers all questions of law to this Honorable Court.
1

2          183. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

3    were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “183” of the
4
     Complaint and refers all questions of law to this Honorable Court.
5
           184. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
6

7    were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “184” of the

8    Complaint and refers all questions of law to this Honorable Court.
9
           185. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
10
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “185” of the
11

12   Complaint and refers all questions of law to this Honorable Court.

13         186. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
14
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “186” of the
15
     Complaint and refers all questions of law to this Honorable Court.
16

17         187. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

18   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “187” of the
19
     Complaint and refers all questions of law to this Honorable Court.
20
           188. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
21

22   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “188” of the

23   Complaint and refers all questions of law to this Honorable Court.
24
           189. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
25
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “189” of the
26
27   Complaint and refers all questions of law to this Honorable Court.

28         190. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

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     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “190” of the
1

2    Complaint and refers all questions of law to this Honorable Court.

3          191. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
4
     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
5
     paragraph “191” of the Complaint and refers all questions of law to this Honorable Court.
6

7          192. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

8    were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “192” of the
9
     Complaint and refers all questions of law to this Honorable Court.
10
           193. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
11

12   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “193” of the

13   Complaint and refers all questions of law to this Honorable Court.
14
           194. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
15
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “194” of the
16

17   Complaint and refers all questions of law to this Honorable Court.

18         195. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
19
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “195” of the
20
     Complaint and refers all questions of law to this Honorable Court.
21

22         196. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

23   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “196” of the
24
     Complaint and refers all questions of law to this Honorable Court.
25
           197. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
26
27   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “197” of the

28   Complaint and refers all questions of law to this Honorable Court.

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           198. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
1

2    were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “198” of the

3    Complaint and refers all questions of law to this Honorable Court.
4
           199. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
5
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “199” of the
6

7    Complaint and refers all questions of law to this Honorable Court.

8          200. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
9
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “200” of the
10
     Complaint and refers all questions of law to this Honorable Court.
11

12         201. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

13   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “201” of the
14
     Complaint and refers all questions of law to this Honorable Court.
15
           202. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
16

17   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “202” of the

18   Complaint and refers all questions of law to this Honorable Court.
19
           203. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
20
     were dismissed. Notwithstanding, Defendant denies trafficking of firearms; and further denies
21

22   the remaining allegations in paragraph “203” of the Complaint and refers all questions of law

23   to this Honorable Court.
24
           204. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
25
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “204” of the
26
27   Complaint and refers all questions of law to this Honorable Court.

28         205. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

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     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “205” of the
1

2    Complaint and refers all questions of law to this Honorable Court.

3          206. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
4
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “206” of the
5
     Complaint and refers all questions of law to this Honorable Court.
6

7          207. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

8    were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “207” of the
9
     Complaint and refers all questions of law to this Honorable Court.
10
           208. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
11

12   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “208” of the

13   Complaint and refers all questions of law to this Honorable Court.
14
           209. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
15
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “209” of the
16

17   Complaint and refers all questions of law to this Honorable Court.

18         210. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
19
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “210” of the
20
     Complaint and refers all questions of law to this Honorable Court.
21

22         211. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

23   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “211” of the
24
     Complaint and refers all questions of law to this Honorable Court.
25
           212. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
26
27   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “212” of the

28   Complaint and refers all questions of law to this Honorable Court.

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            213. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
1

2    were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “213” of the

3    Complaint and refers all questions of law to this Honorable Court.
4
            214. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
5
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “214” of the
6

7    Complaint and refers all questions of law to this Honorable Court.

8           215. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
9
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “215” of the
10
     Complaint and refers all questions of law to this Honorable Court.
11

12          216. Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

13   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “216” of the
14
     Complaint and refers all questions of law to this Honorable Court.
15
      IX.     EACH DEFENDANT VIOLATES THE CONSUMER FRAUD STATUTE.
16

17          217.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

18   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “217” of the
19
     Complaint and refers all questions of law to this Honorable Court.
20
            218.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
21

22   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “218” of the

23   Complaint and refers all questions of law to this Honorable Court.
24
            219.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
25
     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
26
27   paragraph “219” of the Complaint and refers all questions of law to this Honorable Court.

28          220.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

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     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
1

2    paragraph “220” of the Complaint and refers all questions of law to this Honorable Court.

3          221.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
4
     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
5
     paragraph “221” of the Complaint and refers all questions of law to this Honorable Court.
6

7          222.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

8    were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
9
     paragraph “222” of the Complaint and refers all questions of law to this Honorable Court.
10
           223.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
11

12   were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in

13   paragraph “223” of the Complaint and refers all questions of law to this Honorable Court.
14
           224.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
15
     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
16

17   paragraph “224” of the Complaint and refers all questions of law to this Honorable Court.

18         225.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
19
     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
20
     paragraph “225” of the Complaint and refers all questions of law to this Honorable Court.
21

22         226.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

23   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “226” of the
24
     Complaint and refers all questions of law to this Honorable Court.
25
           227.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
26
27   were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “227” of the

28   Complaint and refers all questions of law to this Honorable Court.

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           228.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
1

2    were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “228” of the

3    Complaint and refers all questions of law to this Honorable Court.
4
           229.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
5
     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
6

7    paragraph “229” of the Complaint and refers all questions of law to this Honorable Court.

8          230.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
9
     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
10
     paragraph “230” of the Complaint and refers all questions of law to this Honorable Court.
11

12         231.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations

13   were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
14
     paragraph “231” of the Complaint and refers all questions of law to this Honorable Court.
15
           232.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
16

17   were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in

18   paragraph “232” of the Complaint and refers all questions of law to this Honorable Court.
19
           233.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
20
     were dismissed. Notwithstanding, Defendant denies knowledge of the allegations in
21

22   paragraph “233” of the Complaint and refers all questions of law to this Honorable Court.

23         234.   Pursuant to this Court’s March 25, 2024 Order (ECF Doc. 50), these allegations
24
     were dismissed. Notwithstanding, Defendant denies all allegations in paragraph “234” of the
25
     Complaint and refers all questions of law to this Honorable Court.
26
27

28


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           X.      EACH DEFENDANT HAS INFLICTED MASSIVE HARM ON THE
1
                             GOVERNMENT AND ITS CITIZENS.
2
            235.   Defendant denies all allegations directed at it in paragraph “235” of the
3

4    Complaint and refers all questions of law to this Honorable Court. To the extent the allegations

5    in paragraph “235” of the Complaint are directed to other defendants, AA-Z denies knowledge
6
     or information sufficient to form a belief about the truth of such allegations.
7
            236.   Defendant denies all allegations directed at it in paragraph “236” of the
8

9    Complaint and refers all questions of law to this Honorable Court. To the extent the allegations

10   in paragraph “236” of the Complaint are directed to other defendants, AA-Z denies knowledge
11
     or information sufficient to form a belief about the truth of such allegations.
12
            237.   Defendant denies all allegations directed at it in paragraph “237” of the
13

14   Complaint and refers all questions of law to this Honorable Court. To the extent the allegations

15   in paragraph “237” of the Complaint are directed to other defendants, AA-Z denies knowledge
16   or information sufficient to form a belief about the truth of such allegations.
17
            238.   Defendant denies all allegations directed at it in paragraph “238” of the
18
19
     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations

20   in paragraph “238” of the Complaint are directed to other defendants, AA-Z denies knowledge
21   or information sufficient to form a belief about the truth of such allegations.
22
            239.   Defendant denies all allegations directed at it in paragraph “239” of the
23
     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations
24

25   in paragraph “239” of the Complaint are directed to other defendants, AA-Z denies knowledge
26   or information sufficient to form a belief about the truth of such allegations.
27
            240.   Defendant denies all allegations directed at it in paragraph “240” of the
28


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     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations
1

2    in paragraph “240” of the Complaint are directed to other defendants, AA-Z denies knowledge

3    or information sufficient to form a belief about the truth of such allegations.
4
            241.   Defendant denies all allegations directed at it in paragraph “241” of the
5
     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations
6

7    in paragraph “241” of the Complaint are directed to other defendants, AA-Z denies knowledge

8    or information sufficient to form a belief about the truth of such allegations.
9
            242.   Defendant denies all allegations directed at it in paragraph “242” of the
10
     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations
11

12   in paragraph “242” of the Complaint are directed to other defendants, AA-Z denies knowledge

13   or information sufficient to form a belief about the truth of such allegations.
14
            243.   Defendant denies all allegations in paragraph “243” of the Complaint and refers
15
     all questions of law to this Honorable Court.
16

17          244.   Defendant denies all allegations in paragraph “244” of the Complaint and refers

18   all questions of law to this Honorable Court.
19
            245.   Defendant denies all allegations in paragraph “245” of the Complaint and refers
20
     all questions of law to this Honorable Court.
21

22          246.   Defendant denies all allegations in paragraph “246” of the Complaint and refers

23   all questions of law to this Honorable Court.
24
            247.   Defendant denies all allegations directed at it in paragraph “247” of the
25
     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations
26
27   in paragraph “247” of the Complaint are directed to other defendants, AA-Z denies knowledge

28   or information sufficient to form a belief about the truth of such allegations.

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            248.   Defendant denies all allegations directed at it in paragraph “248” of the
1

2    Complaint and refers all questions of law to this Honorable Court. To the extent the allegations

3    in paragraph “248” of the Complaint are directed to other defendants, AA-Z denies knowledge
4
     or information sufficient to form a belief about the truth of such allegations.
5
            249.   Defendant denies all allegations directed at it in paragraph “249” of the
6

7    Complaint and refers all questions of law to this Honorable Court. To the extent the allegations

8    in paragraph “249” of the Complaint are directed to other defendants, AA-Z denies knowledge
9
     or information sufficient to form a belief about the truth of such allegations.
10
            250.   Defendant denies all allegations in paragraph “250” of the Complaint and refers
11

12   all questions of law to this Honorable Court.

13          251.   Defendant denies all allegations in paragraph “251” of the Complaint and refers
14
     all questions of law to this Honorable Court.
15
            252.   Defendant denies all allegations directed at it in paragraph “252” of the
16

17   Complaint and refers all questions of law to this Honorable Court. To the extent the allegations

18   in paragraph “252” of the Complaint are directed to other defendants, AA-Z denies knowledge
19
     or information sufficient to form a belief about the truth of such allegations.
20
            253.   Defendant denies all allegations in paragraph “253” of the Complaint and refers
21

22   all questions of law to this Honorable Court.

23          254.   Defendant denies all allegations in paragraph “254” of the Complaint and refers
24
     all questions of law to this Honorable Court.
25
            255.   Defendant denies all allegations in paragraph “255” of the Complaint and refers
26
27   all questions of law to this Honorable Court.

28          256.   Defendant denies all allegations in paragraph “256” of the Complaint and refers

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     all questions of law to this Honorable Court.
1

2           257.   Defendant denies all allegations in paragraph “257” of the Complaint and refers

3    all questions of law to this Honorable Court.
4
            258.   Defendant denies all allegations directed at it in paragraph “258” of the
5
     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations
6

7    in paragraph “258” of the Complaint are directed to other defendants, AA-Z denies knowledge

8    or information sufficient to form a belief about the truth of such allegations.
9
            259.   Defendant denies all allegations directed at it in paragraph “259” of the
10
     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations
11

12   in paragraph “259” of the Complaint are directed to other defendants, AA-Z denies knowledge

13   or information sufficient to form a belief about the truth of such allegations.
14
            260.   Defendant denies all allegations directed at it in paragraph “260” of the
15
     Complaint and refers all questions of law to this Honorable Court. To the extent the allegations
16

17   in paragraph “260” of the Complaint are directed to other defendants, AA-Z denies knowledge

18   or information sufficient to form a belief about the truth of such allegations.
19
                                    XI.    CLAIMS FOR RELIEF
20                                             COUNT ONE
                                             (NEGLIGENCE)
21

22          261.   Defendant incorporates by reference its answers and responses to Plaintiff’s

23   allegations contained in Paragraphs 1-260 of Plaintiff’s Complaint as if fully re-stated herein.
24
            262.   Defendant denies all allegations directed at it in paragraph “262” of the
25
     Complaint and refers all questions of law to this Honorable Court.
26
27          263.   Defendant denies all allegations directed at it in paragraph “263” of the

28   Complaint and refers all questions of law to this Honorable Court.

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           264.   Defendant denies all allegations directed at it in paragraph “264” of the
1

2    Complaint and refers all questions of law to this Honorable Court.

3          265.   Defendant denies all allegations directed at it in paragraph “265” of the
4
     Complaint and refers all questions of law to this Honorable Court.
5
                                             COUNT II
6
                                         (PUBLIC NUISANCE)
7
           266.   Defendant incorporates by reference its answers and responses to Plaintiff’s
8

9    allegations contained in Paragraphs 1-265 of Plaintiff’s Complaint as if fully re-stated herein.

10         267.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
11
     a response is required Defendant denies all allegations directed at it in paragraph “267” of the
12
     Complaint and refers all questions of law to this Honorable Court.
13

14         268.   These allegations were dismissed by order of the Court, Dkt .50. To the extent

15   a response is required Defendant denies all allegations directed at it in paragraph “268” of the
16   Complaint and refers all questions of law to this Honorable Court.
17
           269.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
18
19
     a response is required Defendant denies all allegations directed at it in paragraph “269” of the

20   Complaint and refers all questions of law to this Honorable Court.
21         270.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
22
     a response is required Defendant denies all allegations directed at it in paragraph “270” of the
23
     Complaint and refers all questions of law to this Honorable Court.
24

25         271.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
26   a response is required Defendant denies all allegations directed at it in paragraph “271” of the
27
     Complaint and refers all questions of law to this Honorable Court.
28


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           272.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
1

2    a response is required Defendant denies all allegations directed at it in paragraph “272” of the

3    Complaint and refers all questions of law to this Honorable Court.
4
           273.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
5
     a response is required Defendant denies all allegations directed at it in paragraph “267” of the
6

7    Complaint and refers all questions of law to this Honorable Court.

8                                        COUNT THREE
9                                  (NEGLIGENT ENTRUSTMENT)

10         274.   Defendant incorporates by reference its answers and responses to Plaintiff’s
11
     allegations contained in Paragraphs 1-273 of Plaintiff’s Complaint as if fully re-stated herein.
12
           275.   Defendant denies all allegations directed at it in paragraph “275” of the
13

14   Complaint and refers all questions of law to this Honorable Court.

15         276.   Defendant denies all allegations directed at it in paragraph “276” of the
16   Complaint and refers all questions of law to this Honorable Court.
17
           277.   Defendant denies all allegations directed at it in paragraph “277” of the
18
19
     Complaint and refers all questions of law to this Honorable Court.

20         278.   Defendant denies all allegations directed at it in paragraph “278” of the
21   Complaint and refers all questions of law to this Honorable Court.
22
           279.   Defendant denies all allegations directed at it in paragraph “279” of the
23
     Complaint and refers all questions of law to this Honorable Court.
24

25         280.   Defendant denies all allegations directed at it in paragraph “280” of the
26   Complaint and refers all questions of law to this Honorable Court.
27
           281.   Defendant denies all allegations directed at it in paragraph “281” of the
28


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     Complaint and refers all questions of law to this Honorable Court.
1

2          282.   Defendant denies all allegations directed at it in paragraph “282” of the

3    Complaint and refers all questions of law to this Honorable Court.
4
           283.   Defendant denies all allegations directed at it in paragraph “283” of the
5
     Complaint and refers all questions of law to this Honorable Court.
6

7                                           COUNT FOUR
                                        (NEGLIGENCE PER SE)
8

9          284.   Defendant incorporates by reference its answers and responses to Plaintiff’s

10   allegations contained in Paragraphs 1-283 of Plaintiff’s Complaint as if fully re-stated herein.
11
           285.   Defendant denies all allegations directed at it in paragraph “285” of the
12
     Complaint and refers all questions of law to this Honorable Court.
13

14         286.   Defendant denies all allegations directed at it in paragraph “286” of the

15   Complaint and refers all questions of law to this Honorable Court.
16         287.   Defendant denies all allegations directed at it in paragraph “287” of the
17
     Complaint and refers all questions of law to this Honorable Court.
18
19
                                            COUNT FIVE
                                        (GROSS NEGLIGENCE)
20
           288.   Defendant incorporates by reference its answers and responses to Plaintiff’s
21

22   allegations contained in Paragraphs 1-287 of Plaintiff’s Complaint as if fully re-stated herein.

23         289.   Defendant denies all allegations directed at it in paragraph “289” of the
24
     Complaint and refers all questions of law to this Honorable Court.
25
           290.   Defendant denies trafficking firearms. Defendant further denies all allegations
26
27   directed at it in paragraph “290” of the Complaint and refers all questions of law to this

28   Honorable Court.

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           291.   Defendant denies all allegations directed at it in paragraph “291” of the
1

2    Complaint and refers all questions of law to this Honorable Court.

3          292.   Defendant denies all allegations directed at it in paragraph “292” of the
4
     Complaint and refers all questions of law to this Honorable Court.
5
           293.   Defendant denies all allegations directed at it in paragraph “293” of the
6

7    Complaint and refers all questions of law to this Honorable Court.

8                                      COUNT SIX
9                         (UNJUST ENRICHMENT AND RESTITUTION)

10         294.   Defendant incorporates by reference its answers and responses to Plaintiff’s
11
     allegations contained in Paragraphs 1-293 of Plaintiff’s Complaint as if fully re-stated herein.
12
           295.   Defendant denies all allegations directed at it in paragraph “295” of the
13

14   Complaint and refers all questions of law to this Honorable Court.

15         296.   Defendant denies all allegations directed at it in paragraph “296” of the
16   Complaint and refers all questions of law to this Honorable Court.
17
           297.   Defendant denies all allegations directed at it in paragraph “297” of the
18
19
     Complaint and refers all questions of law to this Honorable Court.

20         298.   Defendant denies all allegations directed at it in paragraph “298” of the
21   Complaint and refers all questions of law to this Honorable Court.
22
           299.   Defendant denies being asked or responsible for paying for Mexico’s crime
23
     problems. Defendant further denies the remaining allegations directed at it in paragraph “299”
24

25   of the Complaint and refers all questions of law to this Honorable Court.
26         300.   Defendant denies all allegations directed at it in paragraph “300” of the
27
     Complaint and refers all questions of law to this Honorable Court.
28


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           301.   Defendant denies all allegations directed at it in paragraph “301” of the
1

2    Complaint and refers all questions of law to this Honorable Court.

3          302.   Defendant denies all allegations directed at it in paragraph “302” of the
4
     Complaint and refers all questions of law to this Honorable Court.
5
                                    COUNT SEVEN
6
                    (VIOLATION OF ARIZONA’S CONSUMER FRAUD ACT)
7
           303.   Defendant incorporates by reference its answers and responses to Plaintiff’s
8

9    allegations contained in Paragraphs 1-302 of Plaintiff’s Complaint as if fully re-stated herein.

10         304.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
11
     a response is required Defendant denies all allegations directed at it in paragraph “304” of the
12
     Complaint and refers all questions of law to this Honorable Court.
13

14         305.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent

15   a response is required Defendant denies all allegations directed at it in paragraph “305” of the
16   Complaint and refers all questions of law to this Honorable Court.
17
           306.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
18
19
     a response is required Defendant denies all allegations directed at it in paragraph “306” of the

20   Complaint and refers all questions of law to this Honorable Court.
21         307.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
22
     a response is required Defendant denies all allegations directed at it in paragraph “307” of the
23
     Complaint and refers all questions of law to this Honorable Court.
24

25         308.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
26   a response is required Defendant denies all allegations directed at it in paragraph “308” of the
27
     Complaint and refers all questions of law to this Honorable Court.
28


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           309.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
1

2    a response is required Defendant denies all allegations directed at it in paragraph “309” of the

3    Complaint and refers all questions of law to this Honorable Court.
4
                                           COUNT EIGHT
5                                       (PUNITIVE DAMAGES)
6
           310.   Defendant incorporates by reference its answers and responses to Plaintiff’s
7
     allegations contained in Paragraphs 1-309 of Plaintiff’s Complaint as if fully re-stated herein.
8

9          311.   Defendant denies all allegations directed at it in paragraph “311” of the

10   Complaint and refers all questions of law to this Honorable Court.
11
           312.   Defendant denies all allegations directed at it in paragraph “312” of the
12
     Complaint and refers all questions of law to this Honorable Court.
13

14         313.   Defendant denies all allegations directed at it in paragraph “313” of the

15   Complaint and refers all questions of law to this Honorable Court.
16                              COUNT NINE
17         (RACKETEER INFLUENCED AND CORRUPT ORGANIZATION ACT 18
                                U.S.C 1962(C)
18
19
           314.   Defendant incorporates by reference its answers and responses to Plaintiff’s

20   allegations contained in Paragraphs 1-313 of Plaintiff’s Complaint as if fully re-stated herein.
21         315.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
22
     a response is required Defendant denies all allegations directed at it in paragraph “315” of the
23
     Complaint and refers all questions of law to this Honorable Court.
24

25         316.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
26   a response is required Defendant denies all allegations directed at it in paragraph “316” of the
27
     Complaint and refers all questions of law to this Honorable Court.
28


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           317.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
1

2    a response is required Defendant denies all allegations directed at it in paragraph “317” of the

3    Complaint and refers all questions of law to this Honorable Court.
4
           318.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
5
     a response is required Defendant denies all allegations directed at it in paragraph “318” of the
6

7    Complaint and refers all questions of law to this Honorable Court.

8          319.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
9
     a response is required Defendant denies all allegations directed at it in paragraph “319” of the
10
     Complaint and refers all questions of law to this Honorable Court.
11

12                              COUNT TEN
           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATION ACT 18
13                              U.S.C 1962(C)
14
            320. Defendant incorporates by reference its answers and responses to Plaintiff’s
15
     allegations contained in Paragraphs 1-319 of Plaintiff’s Complaint as if fully re-stated herein.
16

17          321. These allegations were dismissed by order of the Court, Dkt .50. To the extent

18   a response is required Defendant denies all allegations directed at it in paragraph “321” of the
19
     Complaint and refers all questions of law to this Honorable Court.
20
            322. These allegations were dismissed by order of the Court, Dkt. 50. To the extent
21

22   a response is required Defendant denies all allegations directed at it in paragraph “322” of the

23   Complaint and refers all questions of law to this Honorable Court.
24
            323. These allegations were dismissed by order of the Court, Dkt. 50. To the extent
25
     a response is required Defendant denies all allegations directed at it in paragraph “323” of the
26
27   Complaint and refers all questions of law to this Honorable Court.

28          324. These allegations were dismissed by order of the Court, Dkt. 50. To the extent

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     a response is required Defendant denies all allegations directed at it in paragraph “324” of the
1

2    Complaint and refers all questions of law to this Honorable Court.

3           325. These allegations were dismissed by order of the Court, Dkt. 50. To the extent
4
     a response is required Defendant denies all allegations directed at it in paragraph “325” of the
5
     Complaint and refers all questions of law to this Honorable Court.
6

7                              COUNT ELEVEN
           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATION ACT 18
8                               U.S.C 1962(C)
9
           326.   Defendant incorporates by reference its answers and responses to Plaintiff’s
10
     allegations contained in Paragraphs 1-325 of Plaintiff’s Complaint as if fully re-stated herein.
11

12         327.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent

13   a response is required Defendant denies all allegations directed at it in paragraph “327” of the
14
     Complaint and refers all questions of law to this Honorable Court.
15
           328.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
16

17   a response is required Defendant denies all allegations directed at it in paragraph “328” of the

18   Complaint and refers all questions of law to this Honorable Court.
19
           329.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
20
     a response is required Defendant denies all allegations directed at it in paragraph “329” of the
21

22   Complaint and refers all questions of law to this Honorable Court.

23         330.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
24
     a response is required Defendant denies all allegations directed at it in paragraph “3305” of
25
     the Complaint and refers all questions of law to this Honorable Court.
26
27         331.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent

28   a response is required Defendant denies all allegations directed at it in paragraph “331” of the

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     Complaint and refers all questions of law to this Honorable Court.
1

2                             COUNT TWELVE
           (RACKETEER INFLUENCED AND CORRUPT ORGANIZATION ACT 18
3                               U.S.C 1962(C)
4
           332.   Defendant incorporates by reference its answers and responses to Plaintiff’s
5
     allegations contained in Paragraphs 1-331 of Plaintiff’s Complaint as if fully re-stated herein.
6

7          333.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent

8    a response is required Defendant denies all allegations directed at it in paragraph “333” of the
9
     Complaint and refers all questions of law to this Honorable Court.
10
           334.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
11

12   a response is required Defendant denies all allegations directed at it in paragraph “334” of the

13   Complaint and refers all questions of law to this Honorable Court.
14
           335.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
15
     a response is required Defendant denies all allegations directed at it in paragraph “335” of the
16

17   Complaint and refers all questions of law to this Honorable Court.

18         336.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
19
     a response is required Defendant denies all allegations directed at it in paragraph “336” of the
20
     Complaint and refers all questions of law to this Honorable Court.
21

22         337.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent

23   a response is required Defendant denies all allegations directed at it in paragraph “337” of the
24
     Complaint and refers all questions of law to this Honorable Court.
25
                              COUNT THIRTEEN
26         (RACKETEER INFLUENCED AND CORRUPT ORGANIZATION ACT 18
27                              U.S.C 1962(C)

28         338.   Defendant incorporates by reference its answers and responses to Plaintiff’s

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     allegations contained in Paragraphs 1-337 of Plaintiff’s Complaint as if fully re-stated herein.
1

2          339.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent

3    a response is required Defendant denies all allegations directed at it in paragraph “339” of the
4
     Complaint and refers all questions of law to this Honorable Court.
5
           340.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
6

7    a response is required Defendant denies all allegations directed at it in paragraph “340” of the

8    Complaint and refers all questions of law to this Honorable Court.
9
           341.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
10
     a response is required Defendant denies all allegations directed at it in paragraph “341” of the
11

12   Complaint and refers all questions of law to this Honorable Court.

13         342.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent
14
     a response is required Defendant denies all allegations directed at it in paragraph “342” of the
15
     Complaint and refers all questions of law to this Honorable Court.
16

17         343.   These allegations were dismissed by order of the Court, Dkt. 50. To the extent

18   a response is required Defendant denies all allegations directed at it in paragraph “343” of the
19
     Complaint and refers all questions of law to this Honorable Court.
20
                                         GENERAL DENIAL
21

22         Any and all allegation in the Complaint that are not specifically admitted are hereby

23   denied.
24
                                              DEFENSES
25
           Defendant asserts the following affirmative defenses without assuming the burden of
26
27   proof or persuasion that would otherwise remain with Plaintiff. Each defense is asserted to all

28   claims against the answering Defendant. Nothing stated herein should be construed as an

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     admission that any particular issue or subject matter is relevant to Plaintiff’s allegations.
1

2    Defendant reserves the right to assert additional affirmative defenses as they become known

3    through the course of discovery in this matter. As separate and affirmative defenses,
4
     Defendant alleges as follows:
5
                                   FIRST AFFIRMATIVE DEFENSE
6

7          For Defendant’s First Affirmative Defense to Plaintiff’s Complaint, Defendant states that

8    Plaintiff’s claims are barred by the statute of limitations. Specifically, Defendant contends that
9    Plaintiff’s Complaint is barred, in whole or in part, by the one-year statute of limitations applicable
10
     to consumer fraud claims, A.R.S. § 12-541 (however, pursuant to this Court’s March 25, 2024 Order
11
     (ECF Doc. 50), Plaintiff’s Arizona Consumer Fraud Act (“CFA”) claim (Count Seven of the
12
     Complaint) was dismissed); two-year statute of limitations for tort claims and negligence claims,
13

14   A.R.S. § 12-542; the three-year statute of limitations, which applies to claims for restitution, A.RS. §

15   12-543; the four-year statute of limitations, which is applicable to claims for unjust enrichment

16   A.R.S. § 12-550.
17
                                 SECOND AFFIRMATIVE DEFENSE
18
           In the alternative, and without waiving its denial of liability, Defendant states that
19

20
     Plaintiff has failed to join one or more indispensable parties the names and/or identities of

21   many of which are unknown to Defendant, including, but not limited to, the Unites States
22   Government and its related agencies (such DOJ, BATFE, FBI and DHS); the Mexican
23
     government, military, and law enforcement officials who supply illegal firearms to the cartels;
24
     the cartel members, associates, or agents; the alleged straw purchasers; the alleged firearm
25

26   traffickers; the individuals who allegedly committed crimes with alleged illegally trafficked
27   firearms, and the foreign and domestic sources of firearms for cartels in Mexico.
28


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                                 THIRD AFFIRMATIVE DEFENSE
1

2          In the alternative, and without waiving its denial of liability, Defendant states that

3    Plaintiff’s claims are barred in whole, or in part, because Plaintiff lacks standing as to one or
4
     more of the claims in Plaintiff’s Complaint.
5
                               FOURTH AFFIRMATIVE DEFENSE
6

7          In the alternative, and without waiving its denial of liability, Defendant states that

8    Plaintiff has failed to state a claim upon which relief can be granted.
9
                                 FIFTH AFFIRMATIVE DEFENSE
10
           In the alternative, and without waiving its denial of liability, Defendant states that the
11

12   acts and omissions of Plaintiff or third parties for whom Defendant is not legally responsible

13   or liable constitute a new and independent cause of any damages allegedly sustained by
14
     Plaintiff such that there can be no finding that any act or omission on the part of Defendant
15
     proximately caused Plaintiff’s alleged damages.
16

17                               SIXTH AFFIRMATIVE DEFENSE

18         Plaintiff’s damages, if any, were solely caused by the intentional or negligent acts of
19
     persons over whom this Defendant had no control or duty to control, and for whom this
20
     Defendant bears no legal responsibility, thereby precluding liability.
21

22                             SEVENTH AFFIRMATIVE DEFENSE

23         In the alternative, and without waiving its denial of liability, Defendant states that any
24
     fault in this matter should be judged comparatively. If it is found that the Plaintiff sustained
25
     injuries as a result of the occurrence described in Plaintiff’s Complaint, which Defendant
26
27   denies, then Plaintiff’s own negligence contributed to Plaintiff’s injuries, including but not

28   limited to the failure to enforce the criminal and civil laws of Mexico against criminal drug

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     cartels which actually cause injury in Mexico and accordingly, any recovery, must be reduced
1

2    by the percentage of Plaintiff’s own negligence.

3                               EIGHTH AFFIRMATIVE DEFENSE
4
           In the alternative, and without waiving its denial of liability, Defendant states that if
5
     Plaintiff sustained damage, such damage was caused by third parties not under Defendant’s
6

7    control or that third parties not under Defendant’s control contributed to cause Plaintiff’s

8    alleged damages.
9
                                 NINTH AFFIRMATIVE DEFENSE
10
           In the alternative, and without waiving its denial of liability, Defendant states that
11

12   Plaintiff’s claim for damages is the result of the negligence and carelessness of Plaintiff and/or

13   of others over whom Defendant had no control, and accordingly, any recovery, if any, that
14
     Plaintiff may receive must be reduced by the percentage of Plaintiff’s own negligence and/or
15
     the negligence of others who contributed to Plaintiff’s injuries and/or damages.
16

17                               TENTH AFFIRMATIVE DEFENSE

18         In the alternative, and without waiving its denial of liability, Defendant states that it
19
     owes no duty to Plaintiff with regard to the conditions referred to in Plaintiff’s Complaint.
20
                              ELEVENTH AFFIRMATIVE DEFENSE
21

22         In the alternative, and without waiving its denial of liability, Plaintiff’s damages, if any,

23   were caused or contributed to by the intentional or negligent acts of persons over whom this
24
     Defendant had no control or duty to control, and for whom this Defendant bears no legal
25
     responsibility, and such fault should be compared pursuant to comparative fault laws,
26
27   including pursuant to A.R.S. § 12-2506.

28


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                               TWELFTH AFFIRMATIVE DEFENSE
1

2          In the alternative, and without waiving its denial of liability, Defendant denies that it is

3    in any way liable to Plaintiff or is any way negligent, however, to the extent that Plaintiff
4
     should recover by settlement any sums from any other entity or party with respect to the
5
     claims raised herein, and to the extent any exceptions are found applicable to several only
6

7    liability, Defendant is entitled to a reduction of damages or to a set-off for any such settlement.

8                            THIRTEENTH AFFIRMATIVE DEFENSE
9
           In the alternative, and without waiving its denial of liability, Plaintiff failed to mitigate
10
     its damages.
11

12                          FOURTEENTH AFFIRMATIVE DEFENSE

13         In the alternative, and without waiving its denial of liability, Plaintiff’s claims must be
14
     dismissed because Defendant was, at all times relevant, a properly licensed federal firearms
15
     dealer, which followed all proper federal firearms regulations and is entitled to the immunity
16

17   provisions of the Protection of Lawful Commerce in Arms Act, 15 U.S.C. § 7901 et seq.

18                            FIFTEENTH AFFIRMATIVE DEFENSE
19
           In the alternative, and without waiving its denial of liability, Plaintiff’s claims are
20
     barred, in whole or part, because the proximate and legal cause of any injury was the criminal
21

22   misuse of said firearms by the individuals owning, possessing, and/or handling the firearm.

23                            SIXTEENTH AFFIRMATIVE DEFENSE
24
           In the alternative, and without waiving its denial of liability, Defendant did not owe or
25
     breach any duty owed to Plaintiff.
26
27                          SEVENTEENTH AFFIRMATIVE DEFENSE

28         In the alternative, and without waiving its denial of liability, Defendant denies that any

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     of Plaintiff’s alleged damages were proximately caused by any act, omission, or misconduct
1

2    of this Defendant.

3                           EIGHTEENTH AFFIRMATIVE DEFENSE
4
           In the alternative, and without waiving its denial of liability, Plaintiff’s claims for relief
5
     before the Court violate the constitutional separation of powers in that Plaintiff seeks to have
6

7    the judicial branch create legislative policy.

8                            NINETEENTH AFFIRMATIVE DEFENSE
9
           In the alternative, and without waiving its denial of liability, Defendant’s alleged
10
     conduct is too remote in relation to the proximate cause(s) of injury to Plaintiff to permit
11

12   recovery as a matter of law.

13                           TWENTIETH AFFIRMATIVE DEFENSE
14
           In the alternative, and without waiving its denial of liability, Defendant states that the
15
     event causing the damages alleged in Plaintiff’s Complaint could not be reasonably
16

17   anticipated by Defendant.

18                         TWENTY-FIRST AFFIRMATIVE DEFENSE
19
           In the alternative, and without waiving its denial of liability, there is no causal
20
     relationship between the conduct of Defendant and the damages as alleged by Plaintiff.
21

22                        TWENTY-SECOND AFFIRMATIVE DEFENSE

23         In the alternative, and without waiving its denial of liability, Defendant states that
24
     Plaintiff failed to undertake precautions, which entity would use to protect its citizens against
25
     dangers which a reasonable and careful user would or should reasonably appreciate in a same
26
27   or similar circumstance.

28


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                          TWENTY-THIRD AFFIRMATIVE DEFENSE
1

2          In the alternative, and without waiving its denial of liability, Plaintiff’s claims are

3    barred by superseding and intervening intentional, negligent, reckless, and/or criminal acts of
4
     third parties.
5
                         TWENTY-FOURTH AFFIRMATIVE DEFENSE
6

7          In the alternative, and without waiving its denial of liability, Defendant states

8    independent, intervening, and superseding forces and/or actions of parties or third parties
9
     proximately caused or contributed to the alleged losses or damages, barring recovery from
10
     Defendant.
11

12                         TWENTY-FIFTH AFFIRMATIVE DEFENSE

13         In the alternative, and without waiving its denial of liability, Defendant states Plaintiff’s
14
     claims for enhanced and/or punitive damages, if any, are barred because the alleged harm
15
     suffered was not the result of this answering Defendant’s acts or omissions and such acts or
16

17   omissions, if any, were not performed knowingly, intentionally, or willfully.

18                         TWENTY-SIXTH AFFIRMATIVE DEFENSE
19
           In the alternative, and without waiving its denial of liability, Defendant states any award
20
     of enhanced and/or punitive damages would violate the excessive fines clause of the Eighth
21

22   Amendment to the Constitution of the United States.

23                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE
24
           In the alternative, and without waiving its denial of liability, Defendant states to the
25
     extent Plaintiff seeks punitive damages, any such claims for punitive damages are barred by
26
27   the following: Commerce Clause of Article I, Section 8 of the U.S. Constitution; the

28   Contracts Clause of Article I, Section 10 of the U.S. Constitution; the prohibition against ex

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     post facto laws embodied in Article I, Section 10 of the U.S. Constitution; the Supremacy
1

2    Clause of Article VI of the U.S. Constitution; the First, Fifth, Eighth and Fourteenth

3    Amendments to the Constitution of the United States of America; as well as the due process
4
     and equal protection provisions contained in the Constitution of Arizona. An award of
5
     punitive damages is not justified under the facts of this case and any such award will constitute
6

7    a denial of equal protection, a denial of due process and/or the imposition of an excessive

8    fine. An award of punitive damages must conform with the law as set forth in State Farm
9
     Automobile Ins. Co. v. Campbell, 538 U.S. 408 (2003), BMW of North America, Inc. v. Gore,
10
     517 U.S. 559 (1996), Cooper Industries, Inc. v. Leatherman Tool Group, 532 U.S. 424 (2001),
11

12   and such other and future cases interpreting the laws involving the bases, standards, burdens

13   of proof and amounts of punitive or exemplary damages under the given set of facts and
14
     circumstances. In the unlikely event that the issue of punitive damages is properly put before
15
     a trier of fact in this case, Defendant is entitled to a unanimous jury verdict as to such a finding
16

17   of fact and to bifurcation of this “punishment” phase and to a jury instruction that mandates

18   a higher burden of proof upon Plaintiff than a mere preponderance of the evidence.
19
                          TWENTY-EIGHTH AFFIRMATIVE DEFENSE
20
           In the alternative, and without waiving its denial of liability, punitive damages are
21

22   barred by operation of A.R.S. § 12-689, et seq.

23                         TWENTY-NINTH AFFIRMATIVE DEFENSE
24
           In the alternative, and without waiving its denial of liability, Defendant states this
25
     answering Plaintiff is not entitled to any damage award violative of Defendant’s due process
26
27   and equal protection rights and other rights set forth in the United States Constitution or rights

28   under the Arizona Constitution.

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                                 THIRTIETH AFFIRMATIVE DEFENSE
1

2           In the alternative, and without waiving its denial of liability, punitive damages are

3    barred by the holding of Swift Transportation Co. of Az., LLC v. Carman 515 P.3d 685.
4
                                THIRTY-FIRST AFFIRMATIVE DEFENSE
5
            In the alternative, and without waiving its denial of liability, Defendant pleads the defense of
6
     illegality as to Plaintiff’s conduct relative to this Complaint. In this regard, Plaintiff’s alleged injuries
7

8    were caused by its own illegal activities or the illegal activities of persons under its control. Such

9    illegal activities would include, but are not limited to, illegal conduct with the cartels, police and law

10   enforcement corruption, allowing persons to illegally possess firearms, obtaining firearms from
11
     illegal sources, intentionally and/or negligently ignoring and turning a blind eye to drug, cartel and
12
     illegal firearms trafficking activities and issues in Mexico, and/or other illegal schemes or conduct
13
     that resulted in harm to Mexico’s citizens and/or violence by the cartels.
14
                               THIRTY-SECOND AFFIRMATIVE DEFENSE
15

16          In the alternative, and without waiving its denial of liability, Defendant pleads the defense of

17   assumption of risk as to Plaintiff’s conduct relative to this Complaint and with respect to the claims
18   for gross negligence, including the fact that Plaintiff has failed to curtail or remedy cartel violence
19
     and that Plaintiff’s own improper conduct with respect to allowing the cartels to operate and/or
20
     intentionally and/or negligently ignoring and turning a blind eye to drug, cartel and illegal firearms
21
     trafficking activities and issues in Mexico has contributed to the alleged injuries sustained by
22

23   Plaintiff.

24                              THIRTY-THIRD AFFIRMATIVE DEFENSE

25          In the alternative, and without waiving its denial of liability, Defendant pleads the defense of
26   estoppel and unclean hands as to Plaintiff’s conduct relative to this Complaint, including estoppel by
27
     representation, estoppel by acquiescence, equitable estoppel and estoppel by convention. In this
28


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     regard, Plaintiff has presented or stated facts that were not true and upon which Defendant
1

2    detrimentally relied, including that it would police its borders, stop corruption and illegal flow of

3    firearms within its country, and would make efforts to prevent and deter cartel violence, drug violence

4    and related firearms crimes. Plaintiff’s own negligence, improper conduct, acquiescence, and/or
5    inaction in failing to curtail or remedy cartel and drug violence while intentionally and/or negligently
6
     ignoring and turning a blind eye to such issues precludes Plaintiff from bringing this lawsuit.
7
                            THIRTY-FOURTH AFFIRMATIVE DEFENSE
8

9           In the alternative, and without waiving its denial of liability, Defendant pleads the

10   defense of laches as to Plaintiff’s conduct relative to this Complaint.
11
                              THIRTY-FIFTH AFFIRMATIVE DEFENSE
12
            In the alternative, and without waiving its denial of liability, Plaintiff’s claims are
13

14   barred by the economic loss rule.

15                            THIRTY-SIXTH AFFIRMATIVE DEFENSE
16
            In the alternative, and without waiving its denial of liability, Defendant asserts the
17
     provisions of Title 12, Chapter 16 of the Arizona Revised Statutes, the Uniform Contribution
18
19   Among Tortfeasors Act, including the right to contribution, comparative negligence, pro rata

20   distribution, several liability, and apportionment of fault.
21
                           THIRTY-SEVENTH AFFIRMATIVE DEFENSE
22
            In the alternative, and without waiving its denial of liability, Plaintiff’s claims are in
23

24   violation of the First and Second Amendments to the United States Constitution as well as

25   the Commerce Clause.
26
                            THIRTY-EIGHTH AFFIRMATIVE DEFENSE
27
            In the alternative, and without waiving its denial of liability, the conduct at issue in
28


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     Plaintiff’s claims are too remote and derivatives to permit recovery.
1

2                          THIRTY-NINTH AFFIRMATIVE DEFENSE

3          In the alternative, and without waiving its denial of liability, Defendant states this
4
     answering Defendant incorporates by reference the defenses raised by other Defendants in
5
     their answers to the Plaintiff’s Complaint.
6

7                                            JURY DEMAND

8          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Defendants demand a trial
9
     by jury on all issues appropriate for the jury to consider.
10

11

12         WHEREFORE, having fully answered Plaintiff’s Complaint, Defendant respectfully

13   requests that this Court dismiss Plaintiff’s Complaint with prejudice and grant Defendant its
14
     costs and for any other further relief that this Court deems just and proper in the
15
     circumstances.
16

17   DATED this 2nd day of December 2024

18                                                    Defendant Ammo A-Z, LLC
19
                                                     s/Danny C. Lallis
20                                                   Danny C. Lallis (Pro Hac Vice)
                                                     dlallis@pisciotti.com
21                                                   Ryan L. Erdreich (Pro Hac Vice)
22                                                   rerdreich@pisciotti.com
                                                     Anthony M. Pisciotti (Pro Hac Vice)
23                                                   apisciotti@pisciotti.com
                                                     PISCIOTTI LALLIS ERDREICH
24
                                                     30 Columbia Turnpike, Suite 205
25                                                   Florham Park, New Jersey 07932
                                                     (973) 245-8100
26
27                                                   and

28


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                                             s/Brian Cieniawski
1
                                             Brian Cieniawski
2                                            brian.cieniawski@wilsonelser.com
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4                                            2231 East Camelback Road, Suite 200
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                                             (480) 562.3660 (Main)
6

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                                 CERTIFICATE OF SERVICE
1

2        I, Ryan L. Erdreich, hereby certify that this document was filed with the Clerk of the

3    Court via CM/ECF. Those attorneys who are registered with the Court’s electronic filing
4
     systems may access this filing through the Court’s CM/ECF system, and notice of this filing
5
     will be sent to these parties by operation of the Court’s electronic filing system.
6

7    Dated: December 2, 2024

8                                            By:     s/Danny C. Lallis
9                                                    Danny C. Lallis (Pro Hac Vice)
                                                     dlallis@pisciotti.com
10

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